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                                                                       of States
                                                                    3Southern    District Court
                                                                          3 District of Texas

                                                                                   ENTERED
                                                                                   April 18, 2017
                    IN THE UNITED STATES DISTRICT COU T                         David J. Bradley, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEX S
                              HOUSTON DIVISION

 UNITED STATES OF AMERICA                     §
                                              §
                                              §
 v.                                           §
                                              §       4:17-CR-0011 -2
 RASHEED AKINSANY A                           §


                        MOTION TO SUBSTITUTE COUNSEL



On this day    ~rLl \BJ 1017              came to be considered Defe dant's Motion to

Substitute Counsel and it appears to the court that this Motion should e:
